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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                              :
ULKU ROWE,                                                    :
                                             Plaintiff,       :
                                                              :    19 Civ. 8655 (LGS)
                           -against-                          :
                                                              :          ORDER
GOOGLE LLC,                                                   :
                                             Defendant. :
------------------------------------------------------------- :
                                                              X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, Defendant moved for summary judgment on November 1, 2021, and

Plaintiff cross-moved for summary judgment on December 6, 2021. An Opinion and Order

issued September 26, 2022, denied both motions. It is hereby

        ORDERED that, no later than September 30, 2022, the parties shall file a joint letter

stating whether they would like a referral to the assigned Magistrate Judge for further settlement

discussions, to the Court’s mediation program (at no cost), or to private mediator to be retained

by the parties at their own expense. The parties shall in any event state their availability for trial

in the first half of 2023, treating as conflicts only other trials and vacations that have already been

paid for (and explaining any such conflicts), so that a trial date can be set.

Dated: September 27, 2022
       New York, New York
